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? 1 :
EDR eM UNCUT erm om CHa Ueki es FER- 20 23 avid a3
United States Bankruptcy Court for the:

District of
(State)

Case number (if known): Chapter

C) Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/24

If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

4. Debtor's name Dk, Pere eS [ Cc.

WwW

2. All other names debtor used

in the last 8 years

Include any assumed names,
trade names, and doing business

as names

. Debtor’s federal Empl
% Debtors federalEmployer | QS U\ GST

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
Slo Coaumectord Sc
Number Street Number Street
P.O. Box

AOLTOGAMER VT -O2qo4

ity State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

oSk

County

Number Street

City State ZIP Code

&. Debtor's website (URL)

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Debtor Case number (it known).
Name

6. Type of debtor A corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C) Partnership (excluding LLP)
Cl other. Specify:

A. Check one:
7. Describe debtor’s business

(2 Health Care Business (as defined in 11 U.S.C. § 101(27A))
CO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C1] Railroad (as defined in 11 U.S.C. § 101(44))
C) Stockbroker (as defined in 114 U.S.C. § 101(53A))
QO) Commodity Broker (as defined in 11 U.S.C. § 101(6))
QO Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

B. Check ail that apply:

QO Tax-exempt entity (as described in 26 U.S.C. § 501)

C2) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

{) Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

errpeetc Bere emer ces ores eee mote TESST OPEL SESE nee te
RIDE CoAT ena LRT PLT OT eX EAT IEL I eS

C. NAICS (North American Industry Classification System) 4- ~digit code that best describes debtor. See
http:/Awww.uscourts.qov/four-digit-national-association-naics-codes

8. Under which chapter of the Check one;

Bankruptcy Code is the
debtor filing? © Chapter 7
Cl chapter 9
Chapter 11. Check aif that apply:
ne CO) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to

insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
4/01/25 and every 3 years after that).

C) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Cl The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
chooses to proceed under Subchapter V of Chapter 11.

C) A planis being filed with this petition.

O Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

() The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

O) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

12b-2.
C) Chapter 12
9. Were prior bankruptcy cases No
filed by or against the debtor
within the last 8 years? Cl Yes. District When Case number

MM/ DD/YYYY

If more than 2 cases, attach a oo Wh b
separate list. District en Case number

MM/ DD/YYYY

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Debtor Case number (if known),
Name
a.
10. Are any bankruptcy cases Anic
pending or being filed by a
business partner oran Q Yes. Debtor Relationship

affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

District When

MM / DD /YYYY
Case number, if known

11. Why is the case filed in this
district?

we. that apply:

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

CJ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

we

Cl Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check all that apply.)

Ott poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

CI It needs to be physically secured or protected from the weather.

CJ itinctudes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C2 other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?
OQ) No

C) Yes. insurance agency

Contact name

Phone

a Statistical and administrative information

13. Debtor’s estimation of
available funds

Check one:

Se will be available for distribution to unsecured creditors.
After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

LZ oo
Wd 1-49 C) 4,000-5,000 (3 25,001-50,000
14, Estimated number of QO 50-99 Q 5,001-10,000 C2 50,001-100,000
creditors Q 100-199 2) 10,001-25,000 C More than 100,000
( 200-998

Official Form 201

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Debtor 5 Case number (i known),
ame
Cl $0-$50,000 OQ $1,000,001-$10 million LJ $500,000,001-$1 billion
1s. Estimated assets C $50,001-$100,000 OC) $10,000,001-$50 million © $1,000,000,001-$10 billion
$100,001-$500,000 () $50,000,001-$100 million (J $10,000,000,001-$50 billion
C) $600,001-S1 million C) $100,000,001-$500 million C) More than $50 billion
. oo C) $0-$50,000 C) $1,000,001-$10 million (2) $500,000,001-S1 billion
16. Estimated liabilities 2 $50,001-$100,000 C2) $10,000,001-$50 miltion CQ $1,000,000,001-$10 billion
() $100,001-$500,000 (J $50,000,001-$100 million (2 $10,000,000,001-$50 billion
{di $500,001-$1 million (2) $100,000,001-$500 million C} More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of 4
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on

MM / 1YYYY
“MLL,

Wdolyn Codagrc
/ ST Ae Tock
gignature of authorizéd representative of debtor A Printed name UY oO
Tile ELS dyin Ac
18, Signature of attorney xX Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

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